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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Judge Philip A. Brimmer

  Civil Action No. 11-cv-03238-PAB-KMT

  SAMUEL M. WALKER and
  DIANE H. WALKER,

        Plaintiffs,

  v.

  FRED WEGENER, individual and official capacity,
  BOBBY PRIESTLY, individual and official capacity,
  CINDY HARDEY, individual and official capacity,
  REBECCA BRAMLETT, individual and official capacity,
  AMY FRANCK, individual and official capacity,
  JUAN GALLEGOS, individual and official capacity,
  DEP SGT BROWN, individual and official capacity,
  PARK COUNTY,
  PARK COUNTY COMMISSIONERS,
  ATTORNEY GENERAL, COLORADO, official capacity, and
  COURT CLERK, individual and official capacity,

       Defendants.
  _____________________________________________________________________

         ORDER ACCEPTING MAGISTRATE JUDGE’S RECOMMENDATION
  _____________________________________________________________________

        This matter is before the Court on the Recommendation of United States

  Magistrate Judge Kathleen M. Tafoya filed on March 2, 2012 [Docket No. 21]. The

  Recommendation states that objections to the Recommendation must be filed within

  fourteen days after its service on the parties. See also 28 U.S.C. § 636(b)(1)(C). The

  Recommendation was served on March 2, 2012. No party has objected to the

  Recommendation.

        In the absence of an objection, the district court may review a magistrate judge’s

  recommendation under any standard it deems appropriate. Summers v. Utah, 927 F.2d
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  1165, 1167 (10th Cir. 1991); see also Thomas v. Arn, 474 U.S. 140, 150 (1985) (“[i]t

  does not appear that Congress intended to require district court review of a magistrate’s

  factual or legal conclusions, under a de novo or any other standard, when neither party

  objects to those findings”). In this matter, I have reviewed the Recommendation to

  satisfy myself that there is “no clear error on the face of the record.”1 See Fed. R. Civ.

  P. 72(b), Advisory Committee Notes. Based on this review, I have concluded that the

  Recommendation is a correct application of the facts and the law. Accordingly, it is

         ORDERED as follows:

         1. The Recommendation of United States Magistrate Judge [Docket No. 21] is

  ACCEPTED.

         2. The Motion to Dismiss of Defendants Suthers and McLimans [Docket No. 3]

  is GRANTED.



         DATED March 26, 2012.

                                     BY THE COURT:


                                      s/Philip A. Brimmer
                                     PHILIP A. BRIMMER
                                     United States District Judge




         1
          This standard of review is something less than a “clearly erroneous or contrary
  to law” standard of review, Fed. R. Civ. P. 72(a), which in turn is less than a de novo
  review. Fed. R. Civ. P. 72(b).

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